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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )               CASE NO. 8:02CR353
                                               )
              Plaintiff,                       )
                                               )
              vs.                              )                    ORDER
                                               )
BARRY RENFOLD COOLEY,                          )
                                               )
              Defendant.                       )

       This matter is before the Court on: the Defendant’s motion to alter or amend the

memorandum and order and judgment denying his § 2255 motion (Filing No. 632). The

motion was brought pursuant to Federal Rule of Civil Procedure 59(e).

       In the Court’s previously issued Memorandum and Order (Filing No. 630), the Court

denied the Defendant’s motion to amend his § 2255 motion (Filing No. 626), concluding

that the matters raised in the proposed amended § 2255 motion were substantially similar

to those presented in the original motion.

       As of this date, Cooley has filed: a § 2255 motion (Filing No. 606) that was denied

(Filing No. 630); a motion to amend his § 2255 motion (Filing No. 611) that was denied

(Filing No. 615); a motion for leave to amend (Filing No. 617) that was denied and an

amended motion (Filing No. 618) that was stricken (Filing No. 621); a motion to alter or

amend judgment under Rule 59(e) (Filing No. 626); and the instant motion to alter or

amend judgment under Rule 59(e) (Filing No. 632).

       The Court has rendered its decision regarding the Defendant’s § 2255 motion.

(Filing Nos. 630, 631.) Rule 9 of the Rules Governing Section 2255 Proceedings provides:

“Before presenting a second or successive motion, the moving party must obtain an order

from the appropriate court of appeals authorizing the district court to consider the motion,
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as required by 28 U.S.C. § 2255, para. 8.” The Eighth Circuit Court of Appals has

considered multiple motions for new trial in the § 2255 context as successive motions.

United States v. Lambros, 404 F.3d 1034, 1037 (8th Cir. 2005). Therefore, the Defendant’s

motion is considered a successive § 2255 motion and denied for lack of an order from the

Eighth Circuit allowing this Court to consider the motion.

       IT IS ORDERED that the Defendant’s motion to alter or amend his § 2255 motion

pursuant to Rule 59(e) (Filing No. 632) is denied.

       DATED this 28th day of February, 2008.

                                                 BY THE COURT:


                                                 s/Laurie Smith Camp
                                                 United States District Judge




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